Case 8:11-cv-00485-AG-RAO Document 859 Filed 11/16/18 Page 1 of 16 Page ID #:23847


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                                                                     j   CLEA?C. U.S. DISTF~ICT t:Gl1RT
                                                                          r                           -~
  1 Lisa Liberi
    1704b Llano St., No. 159                                                    ~~IC !~:2018.
  2
    Santa Fe, NM 87505                                                       Lo______.__ _..~.
                                                                       CEN         D   iRiCT Or CA~IFOR~FI",
  3 Ph:(505)577-0829                                                 ' BY                           DEPUTY

  4 Email: lisaliberi@gmail.com

  5   Plaintiffin Pro Se
  6
                           UNITED STATES DISTRICT COURT
  7
                      FOR THE CENTRAL DISTRICT OF CALIFORNIA,
  8                             SOUTHERN DIVISION
  9

 l0    LISA LIBERI,                                    CIVIL ACTION NUMBER:
 ll                                       Plaintiff,   s:ii_~~_oo4gs_~c CR4~~~c1
             vs.
 12                                                    PLAINTIFF,LISA LIBERI'S REPLY
 13   ORLY TAITZ;                                      TO HER MOTION FOR ALTERING /
       an d                                            AMENDING JUDGMENT AND
 l4
                                                       RELIEF FROM FINAL JUDGMENT
      LAW OFFICES OF ORLY TAITZ;
 ]5
      and
 16   DEFEND OUR FREEDOMS
 17   FOUNDATIONS,INC;
 18   and
      ORLY TAITZ,INC.               ;Date of Hearing: December 3, 2018
 l9
                         Defendants.: Time of Hearing: 10 a.m.
 20                                   Location:        Courtroom lOD
 2l

 22
             PLAINTIFF, LISA LIBERI'S REPLY TO HER MOTION FOR
 23
                   ALTERING/AMENDMENT TO JUDGMENT
 24                 AND RELIEF FROM FINAL JUDGMENT
 25                   RECt11~ED
                    BUT NOT FILED
 26
 2~
,g                  NOV 1 6 2018
                 CLERK, U.S. DISTRICT COURT
               CENTRAI DISTRICT OF CALIFORNIA
                    SAUTNERN DIVISION
              BY ~~f                    DEPUTY
Case 8:11-cv-00485-AG-RAO Document 859 Filed 11/16/18 Page 2 of 16 Page ID #:23848




  1                                        TABLE OF CONTENTS
  2
                                                                                                      PAGE(s)
  3

  4   TABLE OF CONTENTS................................................................... i

  5   TABLE OF AUTHORITIES.......................................................... a-iv
                                                                                     ~~
  6
      I.      LIBERI ATTEMPTED TO MEET AND
  7
              CONFER......................................................................................1
  8
      II.     DEFENDANTS HAVE NOT COMPLIED WITH THE
  9
              TERMS OF THE SETTLEMENT AGREEMENT...............................1-2
 l0
 11   III.    DE-INDEXING WON'T WORK,DEFENDANTS
              HAVE NOT DELETED THE POSTS,URL'S OR LINKS,
 l2           THEY WILL KEEP RE-INDEXING.....................................:................2-5
 l3
      IV.      THE SINGLE PUBLICATION RULE DOESN'T APPLY..................5-6
 14

 15   V.      DEFENDANTS BREACHED EACH TERM THAT COULD
              BE CONSTRUED AS DEFENDANTS CONSIDERATION.................6-7
 16

 17   VI.     RESCISSION IS PROPER IN THIS CASE...........................................7-9
 18
      VII. RESTITUTION.............................................................................................9
 19
 20   VIII. CONCLUSION........................................................................................9-10

 2l
      CERTIFICATE OF SERVICE.........................................................11
 22

 23

 24

 25

 26

 27

 28
Case 8:11-cv-00485-AG-RAO Document 859 Filed 11/16/18 Page 3 of 16 Page ID #:23849




  1                                        TABLE OF AUTHORITIES
  2    CASE                                                                                                 PAGE(s)
  3
       Asmus v. Pacific Bell(2000)23 Cal.4th 1, 6.............................................................9
  4

  5    Batrtenshaw v. Berryhill, U.S.D.C. Case No. 5:16-CV-02243-GJS.
       C.D. CA Jan. 23, 2018) ..........................................................................................10
  6
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       213 P.3d 132, 138(2009)..........................................................................................5
  8

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                            ............................................................................................7
 l0 (D. Nev. March 1, 2016)
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 t2    70 Ca1.Rptr.3d 178, 173 P.3d 1004, 1007(2007)......................................................5

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 l4    108 Ca1.App.3d 327, 332, 166 Cal.Rptr. 526............................................................5
 ]5
       Latshaw v. Trainer Wortlzam & Co., Inc.,
 ]6    4~? F.3d 1097, 1100 (9th Cir. 2006) ......................................................................10
 l7
       Medico-Dental Bldg Co. ofLos Angeles v. Horton &Converse,
 18    21 Cal. 2d 411, 433-34 (1942)...................................................................................8
 19
       Mitchell v. Superior Court(1984)37 Cal.3d 268, 281,
 20    208 Ca1.Rptr. 152,690 P.2d 625...........................................................................5, 6
 2l
       Richter v. Union Land etc. Co.(1900) 129 Cal. 367, 373.........................................9
 ?2

 23    Rutherford Holdings, LLC v. Plaza Del Rey (2014)
       223 Cal.App.4th 221, 230.........................................................................................9
 24

 25    Runyan v. Pac. Air Indus., Inc., 2 Ca13d 304; 316,
 26
       466 P.2d 682. 691, 85 Ca1.Rptr. 138(1970)..............................................................7

 ?~    Sch~~eider v. United Airlines, Inc°., 208 Ca1.App.3d 71,
 ~g    256 Cal. Rptr. 71, 74-75 (1989).............................................................................5, 6
Case 8:11-cv-00485-AG-RAO Document 859 Filed 11/16/18 Page 4 of 16 Page ID #:23850




  1                                TABLE OF AUTHORITIES -Continued
  2   CASE                                                                                                       PAGE s
  3
      Shively v. Bozanich (2003)31 Cal.4th 1230, 1237,
  4   7 Cal. Rptr.3d 576, 584, 80 P.3d 676........................................................................5
  5
      Turner v. Burlington N. Santa Fe R.R. Co.,
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      338 F.3d 1058, 1063'(9th Cir. 2003).......................................................................10
  7
      Wyler v. Feuer, 85 Cal. App.3d 392, 149 Cal.Rptr. 626, 633(1978)........................7
  8

  9   Wynn v. Francis, Los Angeles Superior Court Case No. BC438884........................7
 10
      Wynn v. Francis, CA2/4, B245401 (Cal. Ct. App. 2014)..........................................7
 11
 l2
                                             CALIFORNIA STATUTES
 l3
      STATUTE                                                                                                     PAGE(s)
 ]4

 15   CA Civ Code ¶1689(b)....................................................................................................7
 16
      CA. Crv. Code ~ 1689(b)(2).......................................................................................7
 17

 18   CA. Crv. Coca?e § 1689(h)~4).......................................................................................9

 l9

 20
                               FEDERAL RULES OF CIVIL PROCEDURE
 21

 22   RULE                                                                                                        PAGE s
 23
      Rule 60(b)(1) ..........................................................................................................10
 24

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Case 8:11-cv-00485-AG-RAO Document 859 Filed 11/16/18 Page 5 of 16 Page ID #:23851




  1                                   TABLE OF AUTHORITIES —Continued
  2

  3                                                    MISCELLANEOUS
  4
         RULE                                                                                                        PAGE(s)
  5

  6      Rest.2d Torts, § 577A.....................................................................................................5

  7      1 Smolla, Law of Defamation, supra, § 4:91 ..................................................................6
  8
         1 Witkin, Summary of California law, 10th Contracts § 926(2005).............................7
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 ]0      5 Witkin, Summary of Cal. La~~v Torts, § 478............................................................5, 6

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Case 8:11-cv-00485-AG-RAO Document 859 Filed 11/16/18 Page 6 of 16 Page ID #:23852




        1                 MEMORANDUM OF POINTS AND AUTHORITIES
        2         Defendants have once again attempted to convolute the issues Plaintiff brings
        3
            before the Court. Defendants have been successful in creating a chaotic mess out of
        4
            the issues that are really very simple and benefitted from the confusion it has caused
        5

       6    the Court.
        7
                  I.     LIBERI ATTEMPTED TO MEET AND CONFER
        8
                  Defense claims Plaintiff failed to comply with the Meet and Confer
        9

       10   requirement. Plaintiff attempted in good faith to Meet and Confer with no final
       ]l
            response from Defense as indicated by Ms. Carr's declaration.
       12

       13
                  II.    DEFENDANTS HAVE NOT COMPLIED WITH THE TERMS OF
                         THE SETTLEMENT AGREEMENT
       14

       15
                  Defendants provided a Declaration from Isaac Flaum dated Oct. 29, 2018 who

       16   states Ms. Taitz deleted all posts about Liberi from her websites/blogs and her social
       l7
            media accounts. Ostella Decl, pp. 1-2, ¶l.
       18

       19         Contrary to IVI~-. Flaum, Ms. Can• and Ms. Taitz, not all the posts about Plaintiff

      20    Liberi have been deleted. There are active posts by Defendants about Liberi as of
      21
            Nov. 8, Nov.9 and Nov. 14, 2018 on Taitz's websites/blogs and Social Media
      22

      23    Accounts, after the date of Mr. Flaum's declaration. Liberi Decl., pp. 2-3, ¶¶ 6-10,

      24    Exbs 1-3. Ostella Decl, pp. 3-4, ¶¶7, 9.
      25
                  Mr. Flaum and Ms. Taitz admit Taitz uploaded files about Plaintiff in Yumpu.
      26

      27    The publications about Liberi ~vei-e uploaded a~Id shared effective March 2018. after

      28
                                                        1
                                 Plaintiff s Memorandum of Points and Authorities
Case 8:11-cv-00485-AG-RAO Document 859 Filed 11/16/18 Page 7 of 16 Page ID #:23853




        1   the parties entered into and signed the settlement agreement which was Sept. 12,
       2
            2016, Taitz breached two(2)sections in the settlement agreement, with each
       3
            document Taitz published. Liberi Decl, pp. 6-7, ¶21.
       4
       5          III.   DE-INDEXING WON'T WORK,DEFENDANTS HAVE NOT
                         DELETED THE POSTS, URL's OR LINKS. THEY WILL KEEP
       6
                         RE-INDEXING
       7
                  Defendant's claim Liberi is the one in breach because she will not sign a
       8
            stipulation to de-index Taitz's posts. Liberi explained to defense Counsel de-indexing
       9
       10   will not work until Taitz deletes all the URL links and summaries. Liberi uploaded

       11   the URL links to google and requested the posts about her to be indexed. Many of the
       12
            posts disappeared from the google search index, but re-appeared in google twenty-
       13
       14   four hours later, the posts re-indexed, some with different URL and some with the

       15   same. Liberi Decl., pp. ¶¶6-7, Exbs 12-14. As long as Taitz continues manipulating
       16
            the posts and her created summaries, de-indexing will not work. A Court order will be
       l7
       18   required each time tl~e summary reappears with a different or ne~v URL's Liberi Decl,

       19   p. 7 ¶ 22.
      20
                   Because Taitz has not deleted the posts and URL's Posts have not been actually
      21
      22    deleted. Blog content has been changed to read 404. This is not a server error page.

      23    This is literally 404 typed into the blog content box for publishing. The original post URL
      24
            and blog summary (Excerpt used for search engines). Ostella Decl, p. 4. ¶10.
      25
      26
      27
      28

                                  Plaintiffs Memorandum of Points and Authorities
Case 8:11-cv-00485-AG-RAO Document 859 Filed 11/16/18 Page 8 of 16 Page ID #:23854




         1           The link staying live with content keeps the posts from deindexing from search
        2
              engines. Search engines will remove broken links upon request if they don't
        3
              automatically drop from indexing. Ostella Decl, pp. 3-4, ¶¶9-10.
        4
        5            Blog control panels have URL customization options. Server hosting control

        6     panels also have URL customization options. Defendant has used this option to create
        7
              URLS that read PDF when they are actual pointing to HTML pages.
        8
                     Continuously moving files from one server to another keeps blog posts out of
        9
       10     search engines until the author is ready to publish for indexing.

                     WordPress control panels also have what some call a mute button. Selecting this
       IIIJ
              option keeps pages from public view while controlling what audience can read pages by
       13
       14     giving them access to URLs.

       15            Defendants have not deleted the posts about Liberi. Instead, as of Nov. 14, 2018,
       16
              server monitors and search engine tools have shown Defendants integrated private
       l7
       18     PCs with peer to peer file sharing behind a virtual private network. Defendants
       19
              have migrated various posts about Liberi to new server accounts, republished older
      20
      2l      posts with new URLs, new titles, as well as with new Internet article summaries.

      22      Liberi Decl, pp. 6-7, ¶¶ 19-21, Exbs 12-14. Ostella Decl, pp. 3-4, ¶9.
      23
                     Article summaries in blog post applications are also called Excerpts.
      24
      25      Excerpts are literally a separate field box in the blog content creation field that
      26
              allows an author to type in separate content from the main blog application that
      27
      28
              will show in the search engine article summaries. This content will stand live and
                                                         3
                                    Plaintiffs Memorandum of Points and Authorities
Case 8:11-cv-00485-AG-RAO Document 859 Filed 11/16/18 Page 9 of 16 Page ID #:23855




        1   separate from the actual blog post on the website/blogs. This feature enables
       2
            changeable, editable content to stand in search engine results regardless as to what
       3
       4    the main blog content says. This includes if the author deletes the main content

       5    and types in "404", as Taitz has done on the posts about Liberi located on Orly
       6
            Taitz's sites. The new and changed summaries are new publications because Taitz
       7
       8    changed the verbiage, the content about Liberi. Ostella Decl, p. 4, ¶10.
       9
                  Taitz has created accounts with online data storage lockers like Yumpu
       10
            which hosted the entire filings of this case. This was even verified in Taitz's
       11
            contractor's declaration.   But, since her own contractor had Taitz delete this
       12
            account; a new account has appeared, Slidex.tips. Slidex.tips is another variation
      ]3
            of an online data storage locker. All these behaviors subvert the spirit of the 2016
       14
            settlement agreement. Ostella Decl, pp. 4-5, ¶11.
       15
                  Like Yumpu, Slidex.tips is an online data storage locker. However, this site
       16
            comes with cross site stitching tools (Java XSS) to mask embedding and
      ]7
            redirecting site hosting. But, also like Yumpu, storing and embedding documents
       18
       19   from this site also comes with advertising revenue incentives.         These are new

      20    publications. Masking them doesn't hide that fact. Ostella Decl, p. 5, ¶12.

      2l          The posts, personal identifying information, coupled with all the lies and

      22    smears, has been introduced to public, historic records by certified private
      23    investigators, propagated by an officer of the court (defendant Orly Taitz) and
      24    published by partnering institutes such as the Library of Congress and the
      25    Smithsonian. Ostella Decl, p. 5, ¶14.
      26          No matter what the record shows from this point on, the defamation of the
      27
            Plaintiffs will be historically branded perpetrators of crimes PIaintiffs have
      28
                                                      4
                                Plaintiff's Memorandum of Points and Authorities
Case 8:11-cv-00485-AG-RAO Document 859 Filed 11/16/18 Page 10 of 16 Page ID
                                #:23856




    1   committed with all their personal data attached to it. Ostella Decl, p. 4-5, ¶15.
    2
               IV.    THE SINGLE PUBLICATION RULE DOESN'T APPLY
    3
               The rule that each publication of a defamatory statement gives rise to a new cause
    4
        of action for defamation applies when the original defamer repeats or recirculates his or
    5

    6   her original remarks to a new audience. See Kanarek v. Bugliosi,(1980) 108 Ca1.App.3d

    7
        327, 332, 166 Cal.Rptr. 526; Rest2d Torts, ~ 577A, subd.(1); com. a, p. 208; 5 Witkin,
    8
        Summary of Cal. Law, supf~a, Torts; § 478, p. 562.) Shively v. Bozanich (2003)31
    9
   l0   Ca1.4th 1230, 1237, 7 Cal. Rptr.3d 576, 5.84, 80 P.3d 676, Hebrew Acad. ofS.F. v.

   }~   Goldman, 42 Ca1.4th 883, 70 Ca1.Rptr3d 178, 173 P.3d 1004, 1007(2007)
   12
               Here, Taitz republished all her defamatory and disparaging posts about Liberi on
   13
        Mar. 23. 2018 on new international servers on a new site, taitzreport.com to new
   l4
        audiences in Germany and the UK; on yumpu.com; and from Mar. 2018
   l5
        new/altered changed search return summaries of her posts about Liberi. 8-9 years after
   16
        tl~e posts originated on orlytaitzesq.com. These are new publications.     The single
   l7
        publication rule does not apply. See Shiver%, 7 Ca1.Rptr.3d 576, 80 P.3d at 685 & n. 7;
   18
        Schneider v. U~itedAirline,s, Inc., 208 Cal.App.3d 71, 256 Cal. Rptr. 71, 74-75(1989)
   19 ("'[T]he single publication rule ... does not include separate agbregate publications on
   20   different occasions."' quoting Kanarek v. Bugliosi, 108 Ca1.App.3d 327, 166 Cal.Rptr.
   21   526, 530.(1980); cf.~ Christoffv. Nestle Z~SA, Inc., 47 Ca1.4th 468, 97 Ca1.Rptr.3d 798,
   22   213 P.3d 132, 138(2009)
   23          Our courts hold the repetition by a ne~~v party of another person's earlier
   24
        defamatory remark also gives rise to a separate cause of action for defamation against the
   25
        nriginul defa~r~e~•. ~~~hen the repetition was reasonably foreseeable. Shively, 42 Cal App.
   26
   27   3d at 584 quoting Mitchell v. Superior• Court(1984) 37 Cal.3d 268, 281, 208 Ca1.Rptr.

   28
                                                    5
                              Plaintiff s Memorandum of Points and Authorities
Case 8:11-cv-00485-AG-RAO Document 859 Filed 11/16/18 Page 11 of 16 Page ID
                                #:23857




    1    152, 690 P.2d 625; 5 Witkin, Summary of Cal. Law,,supra, Torts, § 478, p. 562; 1
    2
        Smolla, Law of Defamation, supra, § 4:91, pp. 4-138-4-139.) It is the foreseeable
    3
        subsequent repetition of the remark that constitutes publication and an actionable wrong
    4
    5   in this situation, even though it is the original author of the remark who is being held

    6   accountable. Schneider- v. United Airlines, Inc. (1989)208 Ca1.App.3d 71, 75-76, 256
    7
        Ca1.Rptr. 71.)
    8
    9          Other third-party sites have been republishing Defendants posts about Liberi.
               V.     DEFENDANTS BREACHED EACH TERM THAT COULD BE
   l0
                      CONSTRUED AS DEFENDANTS CONSIDERATION
   11
               It is Plaintiff's position that a valid contract does not exist as e~lained herein.
   12
         Without waiving this. and in the event the Court finds differently, Defendants Breached
   13
        the Settlement Agreement Sections/Terms 2.2 (Full Release of all Liability, except for
   14
        Breaches. Exb."1". pp. 4-5; 10.1(B)(Removal of Internet Posts), Exb."1", p. 8; 10.1(D)
   15
        (Defendants will not make any Internet posts or Public Statements about Plaintiff, Exb.
   16
        "1". p. 9; Sections 11 and 11.1 (Non-Disparagement), Exb."1". p. 9.
   ]7
               Defendants breached Section 2.2 of the Settlement Agreement by naming Shirley
   18
         Waddell. Plaintiff's mother in a lawsuit. The filed Complaint was stricken by the Court,
   19
        but the breach still occurred; and this complaint is available on the Internet.
   20
               The case was concluded Oct. 9, 2018. but Defendants failed to delete all the posts
   21
        about Plaintiff from all their blogs, websites, google images and docs accounts and social
   22
        networks. Liberi Decl, pp. 2-3, ¶¶6-10, Exbs 1-3.
   ?;
               Defendants breached Sections 10.1(D), 11 and 11.1 by republication of the posts
   24   about Plaintiff containing false stories, accusing her of numerous crimes and disparaging
   25   her name. credibility, work ethics, honesty. destroying her reputation, etc. through the
   26   untiled third party complaint, republishing on foreign sei-~~ers and repropagated the posts
   27   about Plaintiff to ensure the summaries of the posts containing disparaging and
   28
                                                   6
                              Plaintiffs Memorandum of Points and Authorities
Case 8:11-cv-00485-AG-RAO Document 859 Filed 11/16/18 Page 12 of 16 Page ID
                                #:23858




     1   defamatory allegations, would remain in all search engines, websites and blogs in the

    2    U.S. and internationally. All of Defendants' false stories about Plaintiff, accusing her of

    3    numerous crimes and disparaging her name, credibility, work ethics, honesty, destroying

    4    her reputation, etc., will forever remain on the Internet/World Wide Web.

    5           In breaching the Settlement Agreement(Contract) Defendants also Breached the

    6    Implied Covenant of Good-Faith and Fair Dealing.

    7           VI.    RESCISSION IS PROPER IN THIS CASE

    8           California law permits rescission of an agreement "[i]f the consideration for the

         obligation of the rescinding party fails, in whole or in part, through the fault of the party
    9
         as to whom he rescinds." Cal. Civ. Code ~ 1689(b)(2). The right to rescission for failure
    10
         of consideration exists if the failure is material or goes to the essence of the contract. §
    11
         Cal. Civ. Code ~ 1689(b), Wyler v. Feuer, 85 Cal. App3d 392, 149 Cal.Rptr. 626, 633
    12
         (1978).
    l3
                Under California law, it is black letter law that rescission "restores the parties to
    14
         their former position." 1 Witkin, Summary of California law, 10th Contracts ~ 926
    15
         (2005); see also Runyan v. Pac. Air Indus.. Inc., 2 Ca1.3d 304; 316, 466 P.2d 682, 691, 85
    16
         Ca1.Rptr. 138 (1970)("It is the purpose of rescission to restore both parties to their
    17
         former positions) as far as possible....")
    18
                Plaintiff provided Defendants Notice of Rescission of the Sept. 12, 2016
    l9
         Settlement Agreement (Contract) on August 28, 2018 and demanded immediate return of
   20

   21    her Consideration in the amount of $20,000,000.00 (twenty-million dollars) for the value

   22
         of Plaintiffs case dismissed ~~ith prejudice. The amount of Plaintiffls Consideration is
   23
         consistent with awards in California and tl~e Ninth Circuits jurisdiction, see Wynn v.
   24

   25    Francis, Los Angeles Superior Court Case No. BC438884 upheld in the unpub. Opinion

   26     Wynn v. Fr~arrcis. CA2/4, B245401 (Cal. Ct. App. 20]4); Cohen v. Hansen, Case No.
   27
         2:]2-cv-Ol 401-JCM-PAL (D. Nev. March l.207 6).
   28
                                                     7
                               Plaintiff s Memorandum of Points and Authorities
Case 8:11-cv-00485-AG-RAO Document 859 Filed 11/16/18 Page 13 of 16 Page ID
                                #:23859




    l          Fraudulent Inducement, Duress and Undue Influence: Defendants threatened to
   2
        sue Plaintiffls elderly mother who is in failing and poor health. Plaintiff could not afford
    3
        to pay her mother's legal fees, and Plaintiff's mother did not have the financial resources
   4
    5   to pay for legal fees. If Plaintiff accepted Defendants Settlement Agreement, Defendants

   6    promised:(A) not to go after Plaintiff's elderly mother;(B)not to republish anything
    7
        about Plaintiff;(C) not disparage Plaintiff; and (D)To refrain from any further Internet
    8
        or social media posts about Liberi and (E)To delete all publications about Plaintiff upon
   9
  10    conclusion of the case.
   11
               Plaintiff believed and relied on Defendants promises and signed the agreement.
  12
        Defendants did not intend to comply with their promises and instead breached every
  ]3
  ]4    promise.

   15          Due to Defendants continued republications of all the posts about Plaintiff,
   16
        deleting the posts from Defendants sites, will not remove the posts. summaries, pictures,
  17
   18   etc. about Plaintiff from the Intet7let Lawsuits or Court Orders naming each website,

   19   blog, social media account, online data locker and search engine cai-~ying Defendants
  20
        posts about Liberi would be required, hundreds if not thousands. This would be far too
  2l
        expensive and take years. And; this would not cure or remove the Defendants posts from
  22
  23    international sites and search engines.

  24          Plaintiff would have never agreed to a settlement agreement lea~-ing the damaging
  25
        posts and publications on the Internet. Plaintiff's entire case was about the damaging
  26
  27    effects of Defendants false posts. Defendants breaches are material breaches and cannot

  28
                                                     8
                              Plaintiffi s Memorandum of Points and Autho►-ities
Case 8:11-cv-00485-AG-RAO Document 859 Filed 11/16/18 Page 14 of 16 Page ID
                                #:23860




    1   be repaired. Medico-Dental Bldg Co. ofLos Angeles v. Horton &Converse, 21 Cal. 2d

    2
        411, 433-34 (1942).
    3
               VII.   RESTITUTION
   4
               Defendants received dismissal of Plaintiff's First Amended Complaint with
    5
        prejudice ($20,000,000.00) pursuant to the written contract. Plaintiff provided notice of
   6
        rescission of the contract on August 28, 2018. Plaintiff rescinded the contract for Lack of
    7
        Consideration, Fraud in the Inducement, Undue Influence, Duress, Failed Consideration
    8
        and Constructive Fraud.
    9
               Defendants have failed and refused and continues to fail and refuse to restore to
   l0
        Plaintiff the consideration ($20,000,000.00) or any thereof.
   11
               A party to a contract may rescind it if, among other things, "the consideration for
   12
        the obligation of the rescinding party, before it is rendered to him,fails in a material
   13
        respect from any cause." (Civ. Code, § 1689; subd.(b)(4); Asmus v. Pacific Bell (2000)
   14   23 Ca1.4th 1, 6, fn. 2. If the failure of consideration is totalthat is, if "nothing of value
   l5   has been received under the contract by the pai~~"'—a court may also a~~~ard the
   16   rescinding party restitution. Rutherford Holdings, LLC v. Plaza Del Rey (2014) 223
   l7   Ca1.App.4th 221, 230, quoting Richter- v. Union Land etc. Co. (1900) 129 Cal. 367, 373:
   18   Bro~~~n v. Grimes (20l 1) 192 Ca1.App.4th 265, 281. .
   19          As a result of Lack of Consideration, Fraud in the Inducement, Undue Influence,
   20   Duress; Failed Consideration and Constructive Fraud, Defendants unjustly retained the
   2]   benefit of $20,000,000.00 at the expense of Plaintiff.

   22          VIII. CONCLUSION
   23          Defendants were fully aware of their requirements and duties outlined in the
   24
        parties Settlement Agreement. Defendants breached the Settlement Agreement and
   25
        were fully aware Liberi received no consideration. Liberi is damaged by the Court's
   26

   27

   28
                                                    9
                              Plaintiff s Memorandum of Points and Authorities
Case 8:11-cv-00485-AG-RAO Document 859 Filed 11/16/18 Page 15 of 16 Page ID
                                #:23861




       1   ~Jrder as it justifies Defendant's false stories and the posts will'never come down.
       2
           With this, Plaintiff's reputation remains tarnished.
       3
                   The Court's incorrect conclusions and determinations are obviously unjust and
       4

       5   prejudicial to the Plaintiff. This warrants the Granting of this Motion; Altering Che
       6
           Judgment, Dkt No. 842 and the Court Amending its October 5, 2018 Order, Dkt No.
       7
           841, Granting Plaintiff' lher requested relief. Burtenshaw v. Berrvhill, U.S.D.C. Case
       8

       9   Na. x:16-CV-02243-GJS. C.D. CA Jan. 23, 2Ql$) quoting ?'urger v. Burlington N.
      10
           Santa ~'e R.R. ~o.~ 338 F.3d 1058, lOb3 (9t11 fir. 2003 (Granting a Rule 59(e)
      1l
      12
           Motion is appropriate to "prevent n~anife~t i3~justit;~."j. Anc~ Grdntinb Plaintiff Relief

      13   frc~ni a Final Jtxd~n3ent. Latshaw v. Trainer Wortham cYL Ca., Inc., 452 F.3d 1097,
      14
           1 l d0 (nth Cir. 2006) ~"Rule; 60(b){l) provides,"On niotiazl ...the court may relieve a
      IS

      16   p~art~~~~ ar a part~''~ lc,~ai representative ~~i-ozn a final jud~n~~ni~. ~i~der, r~r ~~roceedin~ (car .

      17   .. r~r~istake, inach~~r-tet~ce, tiuzprise, air e~cusabl~ neglect.")
      18
                  For the reasons stated herein, Anlendinent ofthe Court's Order, Dkt No. 8=~ 1
      i9
      30   and Relieffrom Final Judgment allowing Plaintif~ta file her Complai~it for Breach of

      ?i   Contract, Rescission, Restitution and Declaratory Relief is v~rarrant~d.
      ~~
                                                                   Respectfully submitted,
      ~3
                                                                             ,
                                                                             ~
      24                                                                                 i
           Dated.: November 15, 2018
      25                                                           I_,ISA I.,IBEI~I, f•o Se
      ?6                                                           1704B Llann St. N~. 159
                                                                   Santa Fe. NM 8750
      ?~                                                           Ph:(50~)~77-0829
      ?g                                                           F,mail: lisaliberi~'ti~~nai].co~7~
                                                            10
                                    Plaintiffs ?41en1orandum of Points and authorities
Case 8:11-cv-00485-AG-RAO Document 859 Filed 11/16/18 Page 16 of 16 Page ID
                                #:23862




     1 '                              CERTIFICATE QF SERVICE
    2 '

    3 '          I,Lisa Liberi, hereby certify that a true and coz~rect copy ofPlaintiffLisa
    4
           Liberi's Reply to her Motion for Ammendment and Relieffrom Final Judgment was
    5

    6
           set°ved this 19~h day ofNovember 2018, electronically tl~rc~ugh the court's ECF filing

    7      system uppn ifs filing on the following:
    8
                                   SCHUMANN d ROSENBERG,LLP
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    18               14ttvrneyfvr D~fe~2dants I~e~~nc~ oz~r Freedoms Foai~~dation~, Ir2c~,
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    1~
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   ?5

   ?~                                                         Plaintiffin Pr•a Se

    ~7

   28
                                                      11
                                Plaintiff's Memorandum ~f Points and Authorities
